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\

NICOLA T. HANNA

United States Attorney

BRANDON D. FOX

Assistant United States Attorney

Chief, Criminal Division mal
PAUL G. STERN coh
Assistant United States Attorney rm

C

Senior Trial Attorney
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E-mail: paul.stern@usdo}.gov

 

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF ma OCR s 7 7 , C
1OCROO OL:
UNITED STATES OF AMERICA, No. CR 19-

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
JANETH BREWER

 

Vv.
JANETH BREWER,

Defendant.

 

 

 

 

1. This constitutes the plea agreement between defendant
JANETH BREWER (“defendant”) and the United States Attorney’s Office
for the Central District of California (the “USAO”) in the above-
captioned case. This agreement is limited to the USAO and cannot
bind any other federal, state, local, or foreign prosecuting,:
enforcement, administrative, or regulatory authorities.

DEFENDANT’ S OBLIGATIONS

 

2. Defendant agrees to:
a. Give up the right to indictment by a grand jury and,

at the earliest opportunity requested by the USAO and provided by the

 
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Court, appear and plead guilty to a single-count information in the
form attached to this agreement as Exhibit A ora substantially
similar form, which charges defendant with misprision of a felony, in
violation of 18 U.S.C. § 4.

b. Not contest facts agreed to in this agreement.

c. Waive any and all defenses to the charge of misprision
of a felony based upon the expiration of the applicable statute of
limitations, as set forth in 18 U.S.C. § 3282 (a).

d. Abide by all agreements regarding sentencing contained
in this agreement.

e. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

f. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

g. Be truthful at all times with the United States
Probation and Pretrial Services Office and the Court.

h. Pay the applicable special assessment at or before the
time of sentencing unless defendant has demonstrated a lack of
ability to pay the assessment.

- a. Agree to imposition in the instant case of the
restitution obligation set forth and imposed in United States v.
Janeth Brewer, CR 11-762-PSG, which provided for payment of a
restitution obligation of $1,915,955 to victims specified in a victim

list prepared by the U.S. Probation Office.

 
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4. Following entry of defendant’s guilty plea and
sentencing in this matter, defendant agrees to move to dismiss with
prejudice her Petition For Writ of Error Coram Nobis, ‘which was
initially filed on June 20, 2019 in Civil Case No. 2:19-CV-05408-PSG.

THE USAO’S OBLIGATIONS

 

3. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

Cc. Contemporaneously with defendant’s entry of a plea of
guilty to the one-count information filed in the above-entitled
matter, to join defendant’s request to have the Court set aside and
vacate: (1) her previously-entered plea of guilty to conspiracy to
commit loan and wire fraud, which was entered on September 19,- 2011

in the case of United States v. Janeth Brewer, CR 11-762-PSG (“the

 

Original Case”); and (2) defendant’s conviction and sentence in the
Original Case, which was entered in a Judgement and Commitment Order
in the Original Case on August 25, 2014 (Docket no. 39).

d. At the time of sentencing, move to dismiss the
previously-filed underlying information in United States v. Janeth
Brewer, CR 11-762-PSG. Defendant agrees, however, that at the time
of sentencing the Court may consider any dismissed charges in
determining the applicable Sentencing Guidelines range, the propriety
and extent of any departure from that range, and the sentence to be
imposed in the instant case. .

e. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction

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in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1.

f. Recommend that defendant be sentenced to a term of
364-days of home detention in the instant case, to be followed by a
one-year term of supervised release, for both of which terms
defendant should receive full credit for time-served in that
defendant has already served 365 days of home detention and two years
of supervised release based upon the sentence imposed upon her on
August 25, 2014 in United States v. Janeth Brewer, CR 11-762-PSG.

g. Join in defendant’s request for expedited sentencing,
provided that the Court makes a specific finding pursuant to Federal
Rule of Criminal Procedure 32(c) (1) that the information in the |
record is sufficient to enable the Court to meaningfully exercise its
sentencing authority pursuant to 18 U.S.C. §$ 3553 without a full pre-
sentence investigation and report.

NATURE OF THE OFFENSE

 

4. Defendant understands that for defendant to be guilty of
the crime charged in the attached information, namely, misprision of
felony, in violation of Title 18, United States Code, Section 4, the
following must true: (a) one or more principals must be have
committed the crime alleged, namely, aiding and abetting and causing
loan or wire fraud in connection with the submission of false loan
applications, in violation of Title 18, United States Code, Sections
1014, 1343, 2(a) and (b); (b) defendant had knowledge of this fact;
(c) defendant failed to notify the authorities of this fact as soon
as possible; and (d) defendant took some affirmative step to conceal

the felony or felonies of the principal or principals.

 
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PENALTIES AND RESTITUTION

5. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section 4, is: three years of imprisonment; a 1-year period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and a
mandatory special assessment of $100.

6. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
4£ defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

7. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

Defendant understands that once the Court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or

revocation of a professional license. Defendant understands that

 
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unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

8. Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The Court cannot,
and defendant’s attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty
plea.

FACTUAL BASIS

9. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of
guilty to the charge described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 1 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

On or about October 4, 2007, defendant was interviewed in Santa
Maria, California, about the preparation of false and fraudulent loan
application packages for prospective borrowers at Capitol Mortgage
Services (“Capitol”) during the time period of approximately 2005-07.
While defendant was aware that certain loan brokers and supervisors
at Capitol were involved in, and oversaw, the preparation of false

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loan application packages on behalf of prospective borrowers
represented by Capitol and that some of these false loan applications
were submitted to federally insured banks, defendant concealed this
fact from Federal Bureau of Investigation Special Agent Dieter
Willkomm when he interviewed defendant about these activities at
Capitol on or about October 4, 2007. Defendant Brewer knowingly
concealed this fact relating to the commission of the felony crimes
of loan fraud and wire fraud, in violation of 18 U.S.c. §§ 1014,
1343, 2(a) and (b), by other loan brokers and supervisors at Capitol,
knowing full well that these crimes had been committed, or aided and
abetted, by other individuals working at Capitol and she also knew
that her verbal affirmative concealment of this fact could
conceivably protect these wrongdoers from being held accountable for

their misconduct.

SENTENCING FACTORS

 

10. Defendant understands that in determining defendant’s
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of

conviction.

 
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11. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:

Base Offense Level: 13 [U.S.S.G. § 2X4.1]
Defendant understands that there is no agreement as to defendant’s
criminal history or criminal history category. The parties have
agreed upon an appropriate sentence in view of the applicable
guideline factors and sentencing considerations set forth in 18
U.S.C. § 3553(a), and the terms of their agreement are set forth in
paragraphs two and three above.

WAIVER OF CONSTITUTIONAL RIGHTS

 

12. Defendant understands that by pleading guilty, defendant
gives up the following rights:
. a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury.
c. The right to be represented by counsel -- and if
necessary have the Court appoint counsel -- at trial. Defendant

understands, however, that, defendant retains the right to be

represented by counsel -- and if necessary have the Court appoint
counsel -- at every other stage of the proceeding.
d. The right to be presumed innocent and to have the

burden of proof placed on the government to prove defendant guilty

beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses

against defendant.

£. The right to testify and to present evidence in
opposition to the charges, including the right to compel the

attendance of witnesses to testify.

 
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g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed, including any
pretrial motion based upon expiration of the applicable statute of
limitations.

WAIVER OF APPEAL OF CONVICTION

 

13. Defendant understands that, with the exception of an appeal
based on a claim that defendant’s guilty plea was involuntary, by
pleading: guilty defendant is waiving and giving up any right to
appeal defendant’s conviction on the offense to which defendant is
pleading guilty. Defendant understands that this waiver includes,
but is not limited to, arguments that the statute to which defendant
is pleading guilty is unconstitutional, and any and all claims that
the statement of facts provided herein is insufficient to support
defendant’s plea of guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

14. Defendant agrees that, provided the Court imposes a total
term of imprisonment on all counts of conviction of no more than 364
days of home detention, defendant gives up the right to appeal all of
the following: (a) the procedures and calculations used to determine
and impose any portion of the sentence; (b) the term of imprisonment
imposed by the Court; (c) the fine imposed by the Court, provided it
is within the statutory maximum; (d) to the extent permitted by law,
the constitutionality or legality of defendant’s sentence, provided
it is within the statutory maximum; (f) the term of probation or

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supervised release imposed by the Court, provided it is within the
statutory maximum; and (g) any of the following conditions of
probation or supervised release imposed by the Court: the conditions
set forth in General Order 18-10 of this Court; and the drug testing
conditions mandated by 18 U.S.C. S§ 3563(a) (5) and 3583 (d)

15. The USAO agrees that, provided (a) all portions of the
sentence are within the statutory maximum and (b) the Court imposes a
term of imprisonment of no less than 364 days of home detention, the
USAO gives up its right to appeal any portion of the sentence.

RESULT OF WITHDRAWAL OF GUILTY PLEA

16. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then the USAO will be relieved of all of its obligations

under this agreement.

EFFECTIVE DATE OF AGREEMENT

 

17. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an

Assistant United States Attorney.

BREACH OF AGREEMENT

 

18. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant’s counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of

defendant’s obligations under this agreement (“a breach”), the USAO

may declare this agreement breached. All of defendant’s obligations

are material, a single breach of this agreement is sufficient for the

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USAO to declare a breach, and defendant shall not be deemed to have
cured a breach without the express agreement of the USAO in writing.
If the USAO declares this agreement breached, and the Court finds
such a breach to have’ occurred, then: (a) if defendant has previously
ehtered a guilty plea pursuant to this agreement, defendant will not
be able to withdraw the guilty plea, and (b) the USAO will be
relieved of all its obligations under this agreement.

19. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action.

b. Defendant waives and gives up all defenses based on

the statute of limitations, any claim of pre-indictment delay, or any

| speedy trial claim with respect to any such action, except to the

extent that such defenses existed as of the date of defendant’s
signing this agreement.

c. Defendant agrees that: (1) any statements made by
defendant, under oath, at the guilty plea hearing if such a hearing
occurred prior to the breach; (ii) the agreed to factual basis
statement in this agreement; and (iii) any evidence derived from such
statements, shall be admissible against defendant in any such action
against defendant, and defendant waives and gives up any claim under
the United States Constitution, any statute, Rule 410 of the Federal
Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

Procedure, or any other federal rule, that the statements or any

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evidence derived from the statements should be suppressed or are
inadmissible.
COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

OFFICE NOT PARTIES

 

20. Defendant understands that the Court and the United States
Probation and Pretrial Services Office are not parties to this
agreement and need not accept any of the USAO’s sentencing
recommendations or the parties’ agreements to facts or sentencing
factors.

21. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation and Pretrial Services Office and the
Court, (b) correct any and all factual misstatements relating to the
Court’s Sentencing Guidelines calculations and determination of
sentence, and (c) argue on appeal and collateral review that the
Court’s Sentencing Guidelines calculations and the sentence it
chooses to impose are not error, although each party agrees to
maintain its view that the calculations in paragraph ll are
consistent with the facts of this case. While this paragraph permits
both the USAO and defendant to submit full and complete factual
information to the United States Probation and Pretrial Services
Office and the Court, even if that factual information may be viewed
as inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations not
to contest the facts agreed to in this agreement.

22. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the

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1 maximum established by statute, defendant cannot, for that reason,
2 |twithdraw defendant's guilty plea, and defendant will remain bound to
3 |} fulfill all defendant's obligations under this agreement. Defendant
4 understands that no one -- not the prosecutor, defendant's attorney,
5 j}or the Court -- can make a binding prediction ox promise regarding
6 the sentence defendant will receive, except that it will be within
7 the statutory maximum,
8 NO ADDITIONAL AGREEMENTS
9 23. Defendant understands that, except as set forth herein,
10 || there are no promises, understandings, or agreements between the USAO
ll |} and defendant or defendant's attorney, and that no additional
12 promise, understanding, of agreement may be entered into unless in a
13 }iwriting signed by all parties or on the record in court.
14 PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
15 24, The parties agree that this agreement will be considered
16 j}part of the record of defendant’s guilty plea hearing as if the
17 |}entire agreement had been read into the record of the proceeding,
18 |] AGREED AND ACCEPTED
19 UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF
20 || CALIFORNIA
21 i NICOLA T. HANNA
United States Attorney
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ol eR Clee (ile [261%
PAUL G. STERN : Date
426 | Assistant United States Attorney
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2 || JANETH BREWER Date
Defendant
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(Lo Wey
4 || ANDRES ORFTZ , Date * °
Attorney for Defendant JANETH
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CERTIFICATION OF DEFENDANT
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3 I have read this agreement in its entirety. I have had enough
time to review and consider this agreement, and I have carefully and
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thoroughly discussed every part of it with my attorney. I understand
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the terms of this agreement, and TI voluntarily agree to those terms,
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I have discussed the evidence with my attorney, and my attorney has
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advised me of my rights, of possible pretrial motions that might be
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filed, of possible defenses that might be asserted either prior to or
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at trial, of the sentencing factors set forth in 18 U.S.C. § 3553 (a),
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of relevant Sentencing Guidelines provisions, and of the consequences
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of entering into this agreement, No promises, inducements, or
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representations of any kind have been made to me other than those
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contained in this agreement. No one has threatened or forced me in
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any way to enter into this agreement. I am satisfied with the
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|| representation of my attorney in this matter, and I am pleading
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guilty because I am guilty of the charges and wish to take advantage
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of the promises set forth in this agreement, and not for any other
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reason.
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25 WINALL Now. Lo: | “4
JANETH BREWER Date
26 || Defendant
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CERTIFICATION OF DEFENDANT’ S ATTORNEY

I am Janeth Brewer’s attorney. I have carefully and thoroughly
discussed every part of this agreement with my client, Further, I
have fully advised my client of his fher] rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors
set forth in 18 U.S.G¢, § 3553 (a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any.
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set

forth in this agreement is sufficient to support my client's entry of

a guilty plea pursuant to this agreement.

Wo/ 5

 

ANDR ORTIZ Date
Att ey for Defendant JANETH

BREWER

 

 

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CERTIFICATE OF SERVICE _

I, Susan Gearin, declare:

That I am a citizen of the United States and a resident of or
employed in Los Angeles County, California; that my business address
is the Office of United States Attorney, 312 North Spring Street,
Los Angeles, California 90012; that I am over the age of 18; and

that IT am not a party to the above-titled action;

That I am employed by the United States Attorney for the
Central District of California, who is a member of the Bar of the
United States District Court for the Central District of California,
at whose direction I served a copy of:

PLEA AGREEMENT FOR DEFENDANT JANETH BREWER

[] Placed in a closed envelope Placed in a sealed envelope
for collection and inter- for collection and mailing via
office delivery, addressed as United States mail, addressed
follows: as follows:

Janeth Brewer

c/o Andres Ortiz
Immigration/Criminal Defense
320 Pine Avenue, Suite 608
Long Beach, CA 90802

[] By hand delivery, addressed L] By E-MAIL, as follows:
as follows:

[] By messenger, as follows: [CL] By Federal Express, as
follows:

This Certificate is executed on November 8, 2019, at Los

Angeles, California. I certify under penalty of perjury that the

—ee

Susan Gearin
Legal Assistant

foregoing is true and correct.

 

 
